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                                                            Attorneys for Defendant,
                                                            Smart Industries Corporation
                                                        7

                                                        8
                                                                                       UNITED STATES DISTRICT COURT
                                                        9
                                                                                             DISTRICT OF NEVADA
                                                       10
                                                                                             *****
                                                       11   WESCO INSURANCE COMPANY as subrogee Case No.: 2:16-cv-01206-JCM-EJY
                                                            of its insured NICKELS AND DIMES
                                                       12   INCORPORATED,
BARRON & PRUITT, LLP

                       NORTH LAS VEGAS, NEVADA 89031




                                                       13                      Plaintiff,
                          TELEPHONE (702) 870-3940
                           FACSIMILE (702) 870-3950
                            3890 WEST ANN ROAD
                            ATTORNEYS AT LAW




                                                       14   vs.

                                                       15   SMART INDUSTRIES CORPORATION dba               CONSOLIDATED FOR PURPOSES OF
                                                            SMART INDUSTRIES CORP., MFG., an Iowa          DISCOVERY AND TRIAL
                                                       16   corporation,

                                                       17                Defendants.

                                                       18
                                                            JENNIFER WYMAN, individually; BEAR             Case No.: 2:16-cv-02378-JCM-EJY
                                                       19   WYMAN, a minor, by and through his natural
                                                            parent JENNIFER WYMAN; JENNIFER
                                                       20   WYMAN and VIVIAN SOOF, as Joint Special        STIPULATION AND ORDER FOR
                                                            Administrators of the ESTATE OF CHARLES        EXTENSION OF TIME FOR
                                                       21   WYMAN; and SARA RODRIGUEZ natural              DEFENDANT SMART TO RESPOND TO
                                                            parent and guardian ad litem of JACOB WYMAN,   PLAINTIFFS JENNIFER WYMAN, BEAR
                                                       22                                                  WYMAN, AND THE ESTATE OF
                                                                               Plaintiffs,                 CHARLES WYMAN’S MOTION IN
                                                       23                                                  LIMINE NO.5 AND MOTION IN LIMINE
                                                            vs.                                            NO. 6
                                                       24
                                                            SMART INDUSTRIES CORPORATION dba
                                                       25   SMART INDUSTRIES CORP., MFG, an Iowa
                                                            Corporation; HI-TECH SECURITY INC, a
                                                       26   Nevada Corporation; WILLIAM ROSEBERRY;
                                                            BOULEVARD VENTURES, LLC, a Nevada
                                                       27   Corporation; DOES 1 through 10; BUSINESS
                                                            ENTITIES I through V; and ROE
                                                       28   CORPORATIONS 11 through 20, inclusive,
                                                                                                       1
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                                                        1                   Defendants.
                                                            HI-TECH SECURTY INC; and WILLIAM
                                                        2   ROSEBERRY,

                                                        3                          Third-Party Plaintiffs,

                                                        4   vs.

                                                        5   NICKELS AND DIMES INCORPORATED,

                                                        6                          Third-Party Defendants.

                                                        7

                                                        8
                                                                   On October 1, 2020, Plaintiffs’ filed their Motion in Limine No. 5 to Preclude any Argument
                                                        9
                                                            that the Subject Arcade Machine Defect did not Exist When it Left Smart Industries Corporation’s
                                                       10
                                                            Possession (ECF No. 288) and their Motion in Limine No. 6 to Exclude Argument or Reference that
                                                       11
                                                            the Junction Box, Receptacle, and Other Component Parts Contained Therein Were Repaired and/or
                                                       12
                                                            Replaced as Such Argument Lacks Foundation (ECF No. 289). Responses to said motions are
BARRON & PRUITT, LLP

                       NORTH LAS VEGAS, NEVADA 89031




                                                       13
                          TELEPHONE (702) 870-3940




                                                            currently due Oct. 15, 2020. Defendant Smart Industries has requested a one-week extension of time
                           FACSIMILE (702) 870-3950
                            3890 WEST ANN ROAD
                            ATTORNEYS AT LAW




                                                       14
                                                            to file its responses to Plaintiff’s Motions in Limine 5 and 6. Plaintiffs have agreed to Defendant
                                                       15
                                                            Smart Industries request, which would make the responses due on Oct. 22, 2020.
                                                       16          With this Court’s approval, the parties hereby agree that the deadline for Defendant Smart
                                                       17   Industries to file its responses to the Wyman Plaintiffs’ Motions in Limine Nos. 5 and 6, shall be
                                                       18   extended by one week, or such other time as deemed appropriate by the Court. As such, the deadline
                                                       19   for filing said responses shall be Oct. 22, 2020.
                                                       20          This Stipulation is submitted in good faith and is not interposed for purposes of delay. This
                                                       21   stipulation will allow defense counsel additional time to balance certain work and family demands on
                                                       22   his time caused by a recent move. Accordingly, should Plaintiffs need additional time to Reply to
                                                       23   Defendant Smart Industries’ responsive pleadings, Defendant will not object to a one week extension

                                                       24   of time for Plaintiffs’ to file their replies. This is the first request to extend the deadline for filing

                                                       25   Defendant Smart Industries’ Responses to Plaintiffs’ Motion in Limine No. 5 to Preclude any

                                                       26   Argument that the Subject Arcade Machine Defect did not Exist When it Left Smart Industries

                                                       27   Corporation’s Possession (ECF No. 288) and Plaintiffs’ Motion in Limine No. 6 to Exclude Argument

                                                       28
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                                                        1   or Reference that the Junction Box, Receptacle, and Other Component Parts Contained Therein Were

                                                        2   Repaired and/or Replaced as Such Argument Lacks Foundation (ECF No. 289).

                                                        3
                                                             Dated this _15th day of October, 2020,               Dated this _15th day of October, 2020,
                                                        4    BARRON & PRUITT, LLP                                 EGLET ADAMS

                                                        5
                                                               /s/ Joseph R. Meservy                   .            /s/ James A. Trummell              _
                                                        6    DAVID BARRON, ESQ.                                   TRACY A. EGLET, ESQ.
                                                             Nevada Bar No. 142                                   Nevada Bar No. 6419
                                                        7    JOSEPH R. MESERVY, ESQ.                              JAMES A. TRUMMELL, ESQ.
                                                             Nevada Bar No. 14088                                 Nevada Bar No. 14127
                                                        8    3890 West Ann Road                                   BRITTNEY GLOVER, ESQ.
                                                             North Las Vegas, Nevada 89031                        Nevada Bar No. 15412
                                                        9    Attorneys for Defendant                              400 South 7th Street, 4th Floor
                                                             Smart Industries Corporation                         Las Vegas, Nevada 89101
                                                       10                                                         Attorneys for the Wyman Plaintiffs
                                                             Dated this _15th day of October, 2020,
                                                       11    CLIFF W. MARCEK, P.C.

                                                       12
                                                               _/s/ Cliff W. Marcek       ______
BARRON & PRUITT, LLP

                       NORTH LAS VEGAS, NEVADA 89031




                                                       13     CLIFF W. MARCEK, ESQ.
                          TELEPHONE (702) 870-3940




                                                              Nevada Bar No. 5061
                           FACSIMILE (702) 870-3950
                            3890 WEST ANN ROAD
                            ATTORNEYS AT LAW




                                                       14     536 East St. Louis Ave.
                                                              Las Vegas, Nevada 89104
                                                       15    Attorneys for Plaintiffs Sara Rodriguez
                                                             and Jacob Wyman
                                                       16

                                                       17
                                                                                                           ORDER
                                                       18          Based upon the Stipulation of the parties hereto, and with good cause appearing therefor,
                                                       19          IT IS HEREBY ORDERED, that the stipulation to extend the deadline for filing Defendant
                                                       20   Smart Industries’ Responses to Plaintiffs’ Motion in Limine No. 5 to Preclude any Argument that the
                                                       21   Subject Arcade Machine Defect did not Exist When it Left Smart Industries Corporation’s Possession
                                                       22   (ECF No. 288) and Plaintiffs’ Motion in Limine No. 6 to Exclude Argument or Reference that the
                                                       23   Junction Box, Receptacle, and Other Component Parts Contained Therein Were Repaired and/or
                                                       24   Replaced as Such Argument Lacks Foundation (ECF No. 289) is hereby Granted.
                                                       25                October
                                                                   DATED this      16, of
                                                                              ____ day 2020.
                                                                                          October, 2020.

                                                       26
                                                                                                           _______________________________________
                                                       27
                                                                                                           UNITED STATES DISTRICT JUDGE
                                                       28
                                                                                                              3
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